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EEOC Form 161-B (01/2022) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)

To: Amit Sinha From: Chicago District Office
c/o Julie L. Galassi / Bryant Lowe, Esquires 230 S Dearborn Street
Hasselberg, Rock Bell & Kuppler, LLP Chicago, IL 60604

4600 N. Brandywine Drive
Peoria, IL 61614

EEOC Charge No. EEOC Representative Telephone No.
21B-2023-00187 Sherice Galloway, (312) 872-9732
State Local Tribal Programs Manager

(See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:

Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until 90
days after you receive notice that we have completed action on the charge. In this regard, the EEOC is closing your case. Therefore, your
lawsuit under the ADEA must be filed in federal or state court WITHIN 90 DAYS *of your receipt of this Notice.* Otherwise, your right to
sue based on the above-numbered charge will be lost.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
“any violations that occurred more than 2 years (3 years) before you jiie suit muy not be collectible.

If-you file suit, based on this charge, please send a copy of your court complaint to this office.

On behalf of the Commission

Digitally Signed By: Diane I. Smason
11/7/2023

Enclosures(s) Diane I. Smason
Acting District Director

cc: BRADLEY UNIVERSITY
c/o William R. Kohlhase, Esq.
Miller, Hall & Triggs, LLC
416 Main Street, Suite 1125 EXHIBIT

Peoria, IL 61602 A

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